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                                  IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

             DEVANTE BARKLEY,                            :
                 Movant,
                                                         :      CRIMINAL NO.
                   v.                                    :      1:13-CR-0186-SCI-RGV-4

             UNITED STATES OF                            :      CIVIL ACTION NO.
             AMERICA,                                    :      1:15-CV-3818-SCI-RGV

                   Respondent.                           :


                                                       ORDER

                   This matter appears before the Court for consideration of the May 25,20'/..6,

             Report and Recommendation ("R&R") (Doc. No. [175])1 in which The Honorable

             Russell G. Vineyard, United States Magistrate fudge, reconunended that the Court

             deny DeVante Barkley's 28 U.S.C. S 2255 Motion, as amended (Doc. Nos. [130],

             [143]). Barkley has filed objections to the R&R (Doc. No. [185]), as well as a second

             motion to amend his $2255 Motion (Doc. No. [181]), u.d this matter is now ripe for

             consideration.

             I.    BACKGROUND

                   Barkley and three co-defendants were indicted on various counts of armed

             robbery. Lr particular, Barkley was charged in Count One with conspiracy to affect



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                       The citations in this order are to the criminal docket: 1:13-CR-0186-SCI-RGV.



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             conunerce by robbery, in violation of 18 U.S.C. S 1951(a); in Counts Two and Four

             with affecting corunerce by robbery, in violation of $ 1951(a); and in Counts Three

             and Five with knowingly using a firearm in furtherzu:rce of the charged robberies, in

             violation of 18 U.S.C. $ 924(c)(1)(A). Doc. No. [40]. Barkley's appointed counsel filed

             a motion to suppress Barkley's post-arrest statements to Federal Bureau of
             Investigation ("FBI") agents on the grounds that Barkley was not given a Miranda2

             waming, that his confession "was not knowirgly, freely and voluntarily made ," and

             that he did not waive his right to counsel before making the statements. Doc. No.

             l66l,p. L. However, counsel subsequently withdrew the motion after Barkley entered

             plea negotiations with the Govemment. Doc. No. [77].

                   Barkley eventually entered a plea agreement with the Government whereby

             he agreed to plea guilty to Counts Four and Five, the Governmentagreed to dismiss

             all remaining counts, and both parties agreed to joinfly reconunend a total sentence

             of L08 months confinement. Doc. No. [89-1]. The plea agreement was "offered, in

             part, in consideration of [Barkley's] cooperatiory" and the Govemment further

             agreed to recommend that Barkley receive an acceptance of responsibility reduction

             to his offense level. I4 pp. 5-6. The plea agreement set forth the statutory maximum



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                       Miranda v. Arizona. 384 U.S. 436,86 S. Ct. 1.602,16 L. Ed. 2d 694 (1966).

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             and minimum penalties for both counts to which Barkley pled. I4 pp. 3-4. Barkley

             signed the agreement, indicatinghe understood andvoluntarilyagreed totheterms,

             free from any threats or promises, €md that he was "fully satisfied with the

             representation provided to [him]." Id. p. 20.

                   At the plea hearing, Barkley was placed under oath and advised by the Court

             that he could be prosecuted for perjury rt he made any false statements. Doc.

             No. [135-3], pp. 2-4.He was informed of his right to plead not guilty, to have a j!ry

             trial, to have counsel, to cross-examine the Government's wibresses, to call his own

             witresses, and of his right against self-incrimination. Id pp. 5-6. Barkley indicated

             that he understood these rights, and that he understood he was waiving them by

             pleading guilty. Id. pp. 5-7. The Govemment then summarized the terms of the plea

             agreement, laying out the minimum and maximum penalties for each charge, the

             maximum fines, and the mandatory special assessments. Id. pp. 8-10. Barkley

             indicated that he understood the plea agreement, as outlined by the Govemmen!

             and that no one had made any other promise to induce him to enter the agreement.

             !il pp. 11-12.He also indicated thathe understood the fines and penalties associated
             with the offenses he committed, and that he understood the Court may order

             restitution to the victims. Id. p.12.




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                   Barkley's counsel stated that he advised Barkley regarding the admissibility

             of his confessiort and that Barkley was not pleading guilty as a result of any illegally

             obtained evidence in the possession of the Govemment. See id. p. 13. Barkley stated

             that he had sufficient time to discuss all matters fully with his attomey, and that he

             was satisfied with the representation of his attorney. I4 p. 14. The Govemment then

             laid out the elements of the offenses with which Barkley was charged, and Barkley

             stated that he understood the charges. Id. pp. 15-1,6.In his own words, Barkley

             described the charges as " [b]randishing a firearm and armed robbery .' W.p. 16. The

             Court explained its obligation to calculate a Sentencing Guidelines' range, and that

             Barkley's sentence could be more or less severe than the sentence called for by the

             guidelines. Id. pp.1,6-17. Barkley indicated that he understood. Id. p.17.

                   Repeatedly during Barkley's guilty plea, the Court asked him if he was

             entering his plea freely and voluntarily, and if anyone had threatened or forced him

             to plead guilty. Igl pp. 7, 17-18. Each time, Barkley stated that he entered his plea

             freely, knowingl/, and voluntarily. Id. The Court then reviewed the terms of the

             appeal waiver contained in the plea agreement, and Barkley agreed that he

             understood the effect of the appeal waiver and that he was freely and voluntarily

             Sving up his right to appeal. Id. at 17-18.


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                   The Goverrunent then described the factual basis for Barkley's plea. Id.

             pp.18-21,. On December 27,2012, Barkley and four accomplices, driving in a car

             provided by Barkley, robbed a McDonald's in Sandy Springs, Georgia. td p. 1"9. Two

             of Barkley's accomplices-armed with an "amsoft gun" and a .38 Colt
             pistol - climbed in through the drive-through window and robbed the employees at

             gunpoint of approximately $2000 in cash. Id. As the men left the scene of the

             Sandy Springs robbery, Barkley's co-defendant discharged the firearm. Id. p. 20.

             Believing that the proceeds from this robbery were not enough, Barkley and his

             accomplices decided to rob another McDonald's, in Fairburn, Georgia, the same

             night. Id. During this robbery, Barkley climbed through the drive-through window

             with two of his accomplices. Id. The surveillance footage, as well as the testimony of

             the McDonald's employees and Barkley's own co-defendants, would have

             established that Barkley participated in this robbery. Id pp. 20-21". During the

             Fairbum robbery, one of Barkley's accomplices brandished the handguo and the

             men stole approximately $1,500 in cash. Id.

                   Barkley agreed with the Government's summary of the events, and admitted

             that he was in fact guilty of the charges in the indichnent. Id. pp.21.-22. Pursuant to

             the plea agreement, he pled guilty to Counts 4 and 5 of the indichnent, which




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             pertained only to the Fairburn robbery. Id. p. 22.BarKey stated that he did not have

             any questions regardirg any of the matters discussed during the proceeding, and the

             Court accepted his guilty plea. Ig! pp. 22-23. Barkley was eventually given a total

             sentenceof 108 months of imprisonment, theamountagreeduponby theparties. See

             Doc. No. 11321, p. L6; Doc. No. [101]. Barkley did not file a direct appeal.

             Subsequenfly, he timely filed apro se 52255 Motioru and has twice filed motions to

             amend his 52255 Motion. Doc. Nos. [130]; [143]; [181].

             il.   LEGAL STANDARD

             A.    General Standards

                   A federal prisoner may file a 52255 motion to vacate his sentence "upon the

             ground that the sentence was imposed in violation of the Constitution or laws of the

             United States, . . . or is otherwise subject to collateral attack.' 28 U.S.C. $ 2255(a).

             Unless aS 2255 motion and the files and records of the case "conclusively show" that

             the federal prisoner is not entitled to post-conviction relief, the district court shall

             " granttaprompthearingthereorL determine theissues andmake findingsof factand

             conclusions of law with respect thereto." 28 U.S.C. S 2255(b); Anderson v. United

             States. 948 F.zd 704, 706 (11th Cir. 1991). The Court need not hold an evidentiary

             hearing if the allegations are "affirmatively contradicted by the record or the claims




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             are patentlyfrivolous." Aronv. UnitedStates.291.F.3d708,715 (11thCir. 2002)."[T]o

             obtain collateral relief a prisoner must clear a significantly higher hurdle than would

             existondirect appeal." UnitedStatesv. Frady.456 U.S. 152,'1.66,102S. Ct.1584,1593,

             71.L. Ed. 2d 81,6 (1982).

             B.      Ineffective Assistance of Counsel

                     To demonstrate that trial counsel's assistance was so defective that it requires

             reversal, Barkley must show thaf (1) his counsel "made errors so serious that counsel

             was not functioning as the 'counsel' guaranteed the defendant by the Sixth

             Amendmen!" and (2) 'the deficient performance prejudiced the defense." Strickland

             v. Washineton. 466U.5.668,687,104 S.Ct. 2052,2064,80 L.Ed.2d674 (1984). Under

             the performance prong, counsel's representation is judged by u standard of

             "reasonableness under prevailing professional norms," and there is a "strong
             -
             presumption that counsel's conduct [fe1l] within the wide range of reasonable

             professional assistance." Id. at 688-89, 104 S.Ct. at2055.If the record is incomplete or

             unclear about counsel's actions, then it is presumed that counsel exercised reasonable

             professional judgment. Chandler v. United States, 218 F.3d 1305, 131'4n.15 (11th Cir.

             2000) (enbanc). Counsel is not incompetent so long as the particular aPProach taken

             could be considered sound strategy. Id. at 131'4.




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                   Under the prejudice pron& the defendant must show that "there is a

             reasonable probability that, but for counsel's unprofessional errors, the result of the

             proceeding would have been different." Strickland, 466U.5. at694. A reasonable

             probability is" aprobability sufficient to undermine confidence in the outcome." Id.

             Generally, theburdenis onthemovantpursuinganineffective-assistance-of-counsel

             claim to demonstrate prejudice. See Purvis v. Crosby. 451 F.3d 7U,743 (11th Cir.

             2006) (noting that a prisoner must establish prejudice in order to succeed on an

             ineffective-assistance claim, even if there was a structural error in the criminal

             proceedings). Once a courthas determined thatthe defendantfails to establish either

             the performance or prejudice prong, it need not address the remaining prong.

             Strickland. 466U.5. at697; see also Holladay v. Haley. 209 F.3d 1243,1248 (11th Cir.

             2000) (noting that because both parts of the test must be satisfied to show a Sixth

             Amendment violation, the court need not address the performance prong if the

             defendant cannot meet the prejudice prongr ot vice-versa).

                   III.   ANALYSIS

                   hr his initial 92255 Motiory Barkley raised two grounds for relief. In Ground

             One he asserts that "the [C]ourt failed to" follow Fed. R. Crim. P. 11(b). See Doc.

             No. [130] , p.13.In Ground Two he asserts that his counsel was ineffective for: (a)




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             "fail[ing] to explain each and every fundamental constitutional right" that Barkley

             waived by pleading guilty, (b) "fail[ing] to make a timely objection to the factual

             basis [for the plea], on th e grounds that itwas inadequate," arrd(c) withdrawing the

             motion to suppress Barkley's confession.Id pp. 13-1,4.

                    Barkley filed a Motion to Amend his S 2255 Motiory which was granted by the

             Magistrate Judge. See Doc. No. [142[ Doc. No. [175] , p. 15. His amended motion

             added Ground Three, in which he argues that the statements he made to the FBI

             agents on January 1,4,201,4"were obtained through coercion and duress" and that

             the document he signed indicating that he understood and agreed to waive his rights

             before speaking to the agents was also "the product of coercion and duress." Doc.

             No. [1a3] , p.2.

                    Barkley has since filed another Motion to Amend his S 2255 Motion. Doc.

             No. [181]. He seeks to add a fourth ground, arguing that "in light of the Supreme

             Court's decision in tlohnsonv. United States 576U. S.      . 135 S. Ct.2551,,2553,192


             L. Ed. 2d569 (2015)1" his conviction under 18 U.S.C. $ 1951(a) does not qualify "as

             a crime of violence to support his conviction and sentence enhancement under [L8

             U.S.c. $ 924(c)(1)(A)(ii)1." Doc. No. 11821,p.2.




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             A.    Grounds One and Three

                   The Magistrate judge concluded that Grounds One and Three of Barkley's

             S 2255 motion are procedurally barred. Doc. No. [1751, pp. 9-10. Barkley fails to

             object to the Magistrate Judge's conclusion that Ground Three is procedurally barred

             and thus abandons this claim. See Doc. No. [185]. He argues thatGround One is not

             procedurally barred because that ground "challenges the validity of [his] guilty

             plea." lil p. 5. However, the cases he cites in support of his argument deal with

             appeal waivers, and do not address whether a52255 claim is procedurally barred.

             SeeUnitedStatesv. Orozco-Picazo.391F. App'" 761,,769 (11thCtu.2010) (reviewing,

             on direct appeal, defendant's claim his plea lacked a factual basis, despite the appeal

             waiver); Patel v. United States. 252F. App'" 970,975 (11th Ct.200n (holding thag

             because the movant challenged the vatidity of his guilty ple a, " the district court erred

             in dismissing [the movant's] claim based on a finding that it was barred by the

             appeal waiver").

                   The Magistrate Judge correctly noted that Barkley's claim was not barred by

             his appeal waiver. See Doc. No. [175],p.9 n.3. It is precisely because Barkley could

             have raised Ground One on direct appeal, but did not, that Ground One is now

             procedurally barred in his S 2255, unless he can show cause and prejudice or a


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             fundamental miscarriage of justice. See Frady 456 U.S. at'1.67-68; Mills v. United

             States.36 F.3d 1052,1055 (11ttr Ct.1994). This he cannot do.

                    To show cause, Barkley can show that "some objective extemal factor impeded

             counsel's efforts" to assert the claim, or that his counsel's failure to assert the claim

             fell below Strickland's standard for effective assistance of counsel. See Reece v.

             United States. 119 F.3d '/..462, 1465 (11th Cu.. Pgn (quoting Murray v . Carcier . 477

             U.S. 478, 488,106 S.Ct. 2639,264546, 91. L.Ed.2d 397 (1986)); see also United States

             v. Nyhuis. 211,F.3d1340 (11th Cir. 2000). Barkley does not argue that any objective

             external factor prevented his attomey from asserting the claim in Ground One, nor

             does he argue that his counsel was deficient for failing to appeal the alleged

             violations of Fed. R. Crim. P. 11(b). See Doc. No. [185].3 Indeed, Barkley cannot show

             thathis counsel was ineffective for failing to raise the issues in Ground One on direct

             appeal because they are wholly without merit. See Strickland. 466 U.S. at 694.

                    The record is clear that no Rule LL error occurred in this case. The Court

             informed Barkley of (1) his the rightto plead not guilty; (2) his right to a jury triaL (3)



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                       To the extent that Barkley's objections could be construed as arguing that his
             counsel was ineffective for failing to raise Ground Three on direct appeal, the claim would
             still be procedurally barred. Ground Three would have been barred by Barkley's appeal
             waiver, and thus his counselcannothave beenineffectiveforfailing to raise that ground on
             direct appeal.

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             his right to be represented by counsef (a) his right to confront and cross-examine

             adverse witresses; (5) his right to testify and compel the attendance of wibresses; (6)

             his rightagainstcompelled self-incriminatron; (7) the nature of eachcharge to which

             he pled guitty; (8) the maximum and minimum penalties possible by law, includi^g

             fines, supervised release, and special assessments; (9) the possibility of restitution;

             and (10) the Court's obligation to calculate the guidelines range and consider any

             possible departures under the Sentencing Guidelines. See Doc. No. [135-3], pp.5-17;

             Fed. R. Crim. P. 11(b)(1). Thu Court also explained that a guilty plea waived these

             Barkley's trial rights, and the Courtrepeatedly ensured that Barkley entered his plea

             freely and voluntarily. See Doc. No. [135-31, pp. 5-7, 17-18; Fed. R. Crim.

             P. 11(b)(1)(F), (b)(2).

                    Further, the Court explained that Barkley could be prosecuted for perjury for

             testifying falsely under oath. See Doc. No. [135-3], pp. 24; Fed. R. Crim. P.

             11(b)(1XA). While Barkley baldly asserts that there was no factual basis for his plea,

             this contention is belied by the record, as discussed in more detail below. Lr short,

             Ground One is procedurally defaulted because Barkley did not raise it on direct

             appeal and he cannotshow thathis counselwas ineffective for notraisingthe claims

             in Ground One because no Rule LL error occurred in this case; Barkley entered his



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             plea freely, voluntarily, and knowing full-well the consequences of his plea.

             Moreover, even assuming any Rule 11, error occurred, Barkley could not show that

             it affected his substantial rights, because he never asserts that he would have gone

             to trial. See Fed. R. Crim. P. 11(h); United States v. Dominguez Benitez 542U.5.74,

             81-83, 1245. Ct. 2333, 2339-40,159 L. Ed. 2d 157 (2004).

             B.     Ground Two

                    Barkley raises several objections with respect to the Magistrate judge's

             conclusion that the Court should deny the ineffective-assistance-of-counsel claim

             raised in Ground Two.a Barkley asserts that the Magistrate Judge "was required to

             make findings of facts as to whether or not counsel's performance was deficient."

             Doc. No. [185], p. 6. He contends that, because the Magistrate Judge did not make

             findings of fact regarding counsels allegedly deficient performance, the Magistrate

             Judge committed gligbyu error by not "address[ing] all of the claims presented in

             [Barkley's S] 2255 motion." Ig1. pp. 7-8. Barkley is wrong on both counts.


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                       As the Magistrate Judge correctly noted, even though Barkley did not raise the
             ineffective-assistance-of-counsel argument on direct appeal, it is not procedurally defaulted.
             See Massaro v. United States. 538 U.S. 500, 504,123 S.Ct. 7690,1694,155 L.Ed.2d71.4 (2003)
             (holding that "an ineffective-assistance-of-counsel claim may be brought in a collateral
             proceeding under $ 2255,whether or not the petitioner could have raised the claim on direct
             appeal").
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                        Clisby v.Iones. 960F.2d925 (11th Clr.1992').

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                   The Magishate Judge did in fact make a finding that Barkley "fails to show

             that counsel gave him incompetent advice," because Barkley's sworn admissions

             during the plea hearing belied the self-serving assertions in his 52255 Motion. See

             Doc. No. 11751, pp.12-13. Barkley makes no direct objection to this conclusion. See

             Doc. No. [185]. In any event, the Magistrate Judge was not required to make any

             findings regarding whether Barkley's counsel was deficient, because the Magistrate

             Judge concluded that Barkley could not show prejudice. fu Doc. No. 11751, pp.

             13-14; see also Strickland. 466U.5. at697; Holladay. 209F.3d at1248. Additionally,

             the very fact that Barkley objects to the denial of his claims refutes his argument that

             the Magistrate Judge committed Clisby error. See Clisby. 960F.2d at 938.

                   Barkley's primary objection appears to be that no evidentiary hearing was

             held. See Doc. No. [185],pp.2-3,7-g.Henowhere addresses the Magistrate]udge's

             specific reasons for concluding that Barkley's ineffective-assistance-of-counsel claim

             failed. See id. pp. 1-9; see also Doc. No. 11751, pp. 11,-1"4. The Magistrate Judge

             properly concluded an evidentiary hearing was not required, because the record

             conclusively shows that Barkley is not entitled to post-conviction relief. See

             Anderson. 948 F.2d at 706. First, the Magistrate Judge correctly concluded that

             Barkley "f.ailsto show thatcounselgavehimincompetentadvice," because Barkley's



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             statements that he made under penalty of perjury at his plea hearing contradict his

             belated, self-serving allegations. See Doc. No. 11751,pp.12-13; see also Blackledge v.

             Allison. 431 U.S. 63,74,97 S. Ct.'t62't.,'1629,52L. Ed. 2d 136 (1974("Solemn

             declarations in open court carry a strong presumption of verity. The subsequent

             presentation of conclusory allegations unsupported by specifics is subject to

             summary dismissal, as are contentions that in the face of the record. are wholly

             incredible.").

                    Barkley also cannot show that his counsel was deficient for failing to pursue

             the motion to suppress his confession. In order to show that his counsel performed

             deficiently for failing to pursue the motion to suppress, Barkley must show that "no

             competent attomey would think a motion to suppress would have failed." Premo v.

             Moore. 562U.5.115,124,131S.Ct. 733,741.,178 L.Ed.2d649 (2011). Barkley's motion

             to suppress faced formidable obstacles, to say the least. Barkley signed an "Advice

             of Rights" form, also signed by two wifiresses, indicating that he had been advised

             of his rights, and that he willingly waived them and agreed to answer questions

             without his attorney present. Doc. No. [135-1]. The FBI investigation report of the

             interview with Barklep recorded shortly after the interview, also indicated that

             Barkley was given a Miranda waming, and agreed to speak to the agents without an



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             attorney present. See Doc. No. [193-21, p.2. Against this record, Barkley's only

             evidence that his confession was involuntary is his own self-serving statement that

             he was "coerced." Barkley's counsel did not perform deficiently because Barkley

             cannot show that "no competent attorney" would have decided to abandon the

             motion to suppress. See Premo, 562U.5. at124.

                   Even if Barkley had succeeded on the motion to suppress, he cannot show that

             his counsel performed deficiently for abandoning the motion and advising Barkley

             to plead guilty because the Government possessed ample evidence other than the

             confession with which to convict Barkley at trial. Months before Barkley was ever

             arrested, two of his co-defendants were arrested and gave sworn statements to the

             FBI identifying Barkley as being involved in the robberies. See Doc. No. [L48], p. 4-5.

             In addition to his own co-defendants testifying against him, the Government would

             have presented the testimony of the McDonald's employees who were robbed and

             held at gunpoint, as well as surveillance footage corroborating their testimony and

             showing Barkley. See Doc. No. [135-3], pp. 19-21,. The similar modus operandi of the

             robberies-e.9. climbing in through the drive-through window-and the fact that

             they occurred on the same night would have demonstrated that Barkley was

             involved in both robberies, securing his conviction on all counts.


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                    Barkley received a tremendous benefit for his decision to plead guilty and

             abandon the motion to suppress. By foregoing a trial and accepting responsibility for

             his crimes, Barkley reduced his offense-level by 3, thereby reducing the high-end of

             his guidelines range by 11, months and the low-end by 9 months. See Doc. No. 11321,

             p.2-3.Much more critically, Barkley's decision to plea dramatically reduced the

             possible sentence he faced because the Govemment agreed to dismiss Counts One,

             Two, and Three of the indichnent. See Doc. No. [89-1], p. 5. By avoiding conviction

             on all counts, including Count Three for discharglng a firearm during and in relation

             to a crime of violence, Barkley's total-sentence was 28 years less than it would have

             been. See 18 u.S.C. S e2a(c)(1)(A)(iii), (c)(t)(c)(i).

                    "Plea bargains are the result of complex negotiations suffused with

             uncertainty, and defense attorneys must make careful strategic choices in balancing

             opportunities and risks." Premo. 562 U.S. at 124. Based on the benefit Barkley

             received from the plea bargain and the weakness of his motion to suppress, he

             cannot show that his attomey exhibited "manifest deficiency in light of the

             information then available." See id. at 125. Therefore, he cannot show that his

             attomey performed inadequately by advising him to plead guilty and abandon the

             motion to suppress.


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                    hr addition to being unable to show that his counsel performed deficiently,

             Barkley cannot show that he was prejudiced. As noted above, even if Barkley had

             succeeded onhis motionto suppresshisconfession, theGovernmentpossessedmore

             than enough evidence to convict him at tria1.6 By deciding to plead guilty, Barkley

             was not prejudiced at all, but rather benefitted tremendously
                                                                               - he received a sentence
             that was at least 28 years less than what he would have received if he had gone to

             trial. Simply put, Barkley cannot show prejudice because he does not meet his

             affirmative burden of showing that, but for his counsel's alleged errors, the outcome

             of the proceeding would have been different. Gilreath v. Head, 234F.3d 547,55'1,

             (11th Ctu. 2000). Because the record conclusively shows that Barkley is not entitled

             topost-convictionrelief,noevidentiaryhearing isnecessary.SeeAnderson.94SF.2d

             at706.7



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                       The Court notes that Barkley never so much as asserts that he would have refused
             to plead guilty and gone to trial. See Doc. No. [185]. For this reason alone, his
             ineffective-assistance-of-counsel claim fails. See Hill v. Lockhart. 474U.5.52,57,106 S. Ct.
             366,369,88 L. Ed. 2d203 (1985)
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                      Althoughnotmentioned inhis objections, Barkley also argued thathis counsel was
             ineffective for failing "to explain each and every fundamental constitutional right" that
             Barkley waived by pleading guilty, and failing"to make a timely objection to the factual
             basis ffor the plea], on the grounds that it was inadequate." Doc. No. [1301, pp. 13-L4. As
             the above discussion demonstrates, the record conclusively shows that Barkley was advised
             of the rights he waived by pleadinggailty, and the factual basis for his plea was more than
             adequate.

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             C.     T\e lohnson Claim

                    Finally, the Johnson claim Barkley seeks to add in his second Motion to Amend

             his $2255 Motion (Doc. No. [182]) is foreclosed by binding Eleventh Circuit

             precedent. Barkley was not sentenced under the Armed Career Criminal Act, at issue

             in Johnson. Rather, his sentence was enhanced because a firearm was brandished

             during the armed robbery. See Doc. No. [135-3], pp. 15-1.6. As the Eleventh Circuit

             hasheld, the Courtneednotdecidewhetherlohnson's logic applies to the $ 92a(c)(3)

             residual clause, because Barkley's "conviction for aiding and abetting a Hobbs Act

             robbery, which was charged in the same indictrnent as, and makes up the basis for,

             [Barkley'sl $ 92a@) count, clearly qualifies as a "crime of violence" under the

             use-of-force clause in [18 U.S.C.] S 92a(c)(3XA)." In re Colon. No. 16-1302't -1,2016WL

             3461009, at *3 (1 1 th Cir. ]une 24, 2016) ; see also In re Saint Fleur. No. 16-12299 -1, 2016

             WL 3190539 (11th Cir. June 8,201,6). Thus, the Johnson claim Barkley seeks to raise

             must be denied.

             IV. CONCLUSION
                    Barkley's Second Motion to Amend his 52255 Motion (Doc. No. [181]) is

             GRANTED. However, his 52255 Motion, as amended, (Doc. Nos. [130], 17431, [182])

             must be DENIED on all grounds, for the reasons given above. Because Barkley has



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             not made a substantial showing of the denial of a constitutional right, the Court also

             DENIES him a Certificate of Appealability. See 28 U.S.C. $ 2253(c)(2); see also

             Miller-El v. cockrell. 537 u.s. 322,336,1235.Ct.7029,1039,154 L. Ed. 2d 931 (2003).

                          IT IS SO ORDERED, this Jglrday.of..August, 201,6.



                                                 UNITED STATES DISTRICT IUDGE




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